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  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
 10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
 11                                                    )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
 12                                                    )   Subchapter V
                Debtor and Debtor in Possession.       )
 13                                                        LIMITED     OPPOSITION     TO
                                                       )
                                                       )   OBJECTION OF SIMON PROPERTY
 14                                                        GROUP     AND      BROOKFIELD
                                                       )   PROPERTIES RETAIL TO DEBTOR’S
 15                                                    )   SUBCHAPTER V ELECTION OR,
                                                       )   ALTERNATIVELY, MOTION FOR
 16                                                    )   APPOINTMENT OF AN OFFICIAL
                                                       )   COMMITTEE     OF    UNSECURED
 17                                                        CREDITORS       [ECF      103];
                                                       )   MEMORANDUM OF POINTS AND
 18                                                    )   AUTHORITIES; DECLARATION OF
                                                       )   KEVIN WALSH IN SUPPORT
 19                                                    )
                                                       )   Hearing:
 20                                                    )   Date: April 6, 2022
                                                       )   Time: 10:00 a.m.
 21                                                        Place: Courtroom 1539
                                                       )
 22                                                    )          255 East Temple Street
                                                       )          Los Angeles, CA 90012
 23                                                    )
                                                       )   Hearing to be held in-person and by video-
 24                                                    )   conference Government Zoom, see Court’s
                                                       )   website under “Telephonic Instructions” for
 25                                                        more details:
                                                       )
 26                                                    )   https://www.cacb.uscourts.gov/judges/honor
                                                       )   able-sheri-bluebond
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  1           Escada America LLC, a Delaware limited liability company (the “Debtor”), the debtor

  2   and debtor in possession in the above-captioned, chapter 11 bankruptcy case, respectfully

  3   submits its limited opposition (the “Opposition”) to the Objection of Simon Property Group and

  4   Brookfield Properties Retail to Debtor’s Subchapter V Election or, Alternatively, Motion for

  5   Appointment of an Official Committee of Unsecured Creditors (the “Motion”) [ECF 103] filed

  6   by creditors Brookfield Properties Retail, Inc., Simon Property Group, Inc., and certain of their

  7   respective affiliates (collectively, the “Creditors”).

  8           The bases of this Opposition are 11 U.S.C. §§ 105, 365, 502, 1181, 1182, and 1183,

  9   Rules 9013 and 9014 of the Federal Rules of Bankruptcy Procedure, and Rule 9013-1 of the

 10   Local Bankruptcy Rules for the United States Bankruptcy Court of the Central District of

 11   California. In support of the Opposition, the Debtor relies on the annexed memorandum of point

 12   and authorities and declaration of Kevin Walsh.

 13           The Debtor respectfully requests that the Court deny the Motion, or, in the alternative, set

 14   a discovery and briefing schedule on this contested matter, and, in the interim, authorize the

 15   subchapter V trustee to act as an examiner pursuant to 11 U.S.C. § 1183(b)(2).

 16   Dated: March 23, 2022                           ESCADA AMERICA LLC
 17
                                              By: ___/s/ John-Patrick M. Fritz_____
 18                                                 JOHN-PATRICK M. FRITZ
                                                    LEVENE, NEALE, BENDER,
 19                                                 YOO & GOLUBCHIK L.L.P.
                                                    Attorneys for Chapter 11
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                                                    Debtor and Debtor in Possession
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  1                         MEMORANDUM OF POINTS AND AUTHORITIES

  2                                       I.   STATEMENT OF FACTS

  3   A.      General Background1

  4           1.      The Debtor commenced its bankruptcy case by filing a voluntary petition under

  5   chapter 11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor

  6   continues to manage its financial affairs, operate its business, and administer its bankruptcy

  7   estate as a debtor in possession.

  8           2.      The Debtor was formed as a Delaware limited liability company in 2009. The

  9   Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its

 10   main office in Beverly Hills, California, an office New York City, New York, and, as of the

 11   Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50

 12   fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is

 13   now operating at five leased locations with approximately 4 employees in its corporate office and

 14   29 employees in stores.

 15           3.      The Debtor negotiated workouts with some, but not all, of its various landlords

 16   during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

 17   forced to file bankruptcy to restructure its business affairs.

 18           4.      The Debtor cannot survive ongoing litigation with these landlords and the

 19   attendant litigation costs and potential liability for breach of those leases.

 20           5.      Accordingly, the Debtor determined in its reasonable business judgment that it

 21   was in the best interest of its estate to file this current bankruptcy case to preserve the going-

 22   concern value of its business and save the jobs of its employees.

 23           6.      The Debtor intends to propose a subchapter V plan in good faith to reorganize its

 24   financial affairs and avoid a senseless and unnecessary liquidation.

 25   ///

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      1
        The full narrative of the Debtor’s general factual background can be found in the pending
 27   cash collateral motion and accompanying declaration of Kevin Walsh [ECF 101], which is set
      for hearing on April 6, 2022, at 10:00 a.m.
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  1   B.     The Debtor’s Pending Budget Shows Operational Cash-Flow Losses

  2          7.      To keep the Debtor operating through its reorganization, the Debtor requires the

  3   use of cash collateral.

  4          8.      On March 16, 2022, the Debtor filed its Motion for Order (I) Authorizing Use of

  5   Cash Collateral Pursuant to Section 363 of the Bankruptcy Code; and (II) Providing Adequate

  6   Protection (the “Cash Collateral Motion”) [ECF 101], which is currently set for hearing on April

  7   6, 2022. A budget (the “Budget”) for use of cash collateral through July 15, 2022, is attached as

  8   Exhibit 1 to the Cash Collateral Motion.

  9          9.      Over the course of the 13-week Budget, there is a net loss of approximately

 10   $130,000.

 11          10.     The Budget does not include any prepetition debt service, adequate protection

 12   payments, or even payments to Debtor’s counsel or the subchapter V trustee.

 13          11.     The $130,000-loss over the course of the Budget is a purely operational loss.

 14          12.     For the first 13 weeks of this case, the Debtor’s affiliates, Escada Sourcing and

 15   Production (“ESP”) and Mega Corporate Offices (“MCO”) did not receive any payments for

 16   inventory consignment fees or for the Debtor’s employee benefits, which permitted the Debtor to

 17   operate cash-flow positive at the outset of the case. However, in the pending Budget, those costs

 18   will be paid on a go-forward basis starting on April 16, 2022.

 19                   II.        THE DEBTOR IS ELIGIBLE FOR SUBCHAPTER V
 20
      A.     The Debtor’s General Position
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 22          The Debtor is largely indifferent to whether its case remains in subchapter V, but for the

 23   administrative cost savings that will inure to the benefit of creditors and all stakeholders in the

 24   case. If the Debtor is ineligible for subchapter V, then the Debtor is prepared to move forward in

 25   an ordinary chapter 11, but that will almost certainly be less efficient and entail higher

 26   administrative costs, which will be paid ahead of prepetition creditors, most likely resulting in

 27   less recovery for them. The Debtor requests that the Court consider the best interests of all

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  1   creditors in the estate, and not only the well-heeled and highly sophisticated commercial landlord

  2   Creditors who have filed the Motion.

  3          Contrary to the Creditors’ speculative arguments about the Debtor’s subchapter V

  4   strategy,2 the Debtor does not believe that various substantive legal differences between ordinary

  5   chapter 11 and subchapter V – such as the absence of the absolute priority rule, perpetual plan

  6   exclusivity, or the possibility of confirming a plan without a non-insider impaired consenting

  7   class – make a material difference on the facts of this case. See, 11 U.S.C. § 1181(a)(1)

  8   (absolute priority rule of § 1129(b)(2)(B) does not apply); 11 U.S.C. § 1189(a) (only debtor may

  9   file a plan); 11 U.S.C. § 1191(b) (excepting impaired consenting class requirements of §

 10   1129(a)(8) and (10)).

 11          Current ownership and management acquired the Debtor as a distressed business with

 12   many financial and operational problems in November/December 2019, then the situation

 13   became much worse with Covid-19 in February/March 2020, and numerous of the Debtor’s

 14   foreign affiliates went into and/or are now in foreign insolvency proceedings in jurisdictions

 15   such as Germany, Italy, Luxembourg, and Slovenia. What makes the Debtor’s situation different

 16   is the access to SBRA, a more efficient reorganization law not available in other parts of the

 17   world. But, as shown in the Debtor’s Budget, the Debtor cannot even operate cash-flow positive

 18   in the current environment. ECF 101 (Ex. 1, Budget). The Budget does not include any

 19   administrative professional expenses, and the cash burn would be even worse if those expenses

 20   were included. ECF 101 at Ex.1, Budget. In short, there is no great value proposition on the

 21   horizon, and any reorganization in ordinary chapter 11 or subchapter V will need a “new value

 22   contribution” in some fashion. Moreover, the estate cannot afford highly contested litigation

 23   under any chapter 11 regime, and so the Debtor is already highly incentivized to minimize costs

 24   by reaching consensual resolution with the creditors for plan support.

 25
      2
 26     The Motion is replete with speculative arguments and insinuations irrelevant to the issue of
      eligibility or cause for appointment of a committee, and the Debtor’s decision not to engage in
 27   a tit-for-tat exchange on every barb is not and should not be construed to be Debtor’s
      acceptance of the Creditor’s allegations. All rights, claims, and defenses are reserved.
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  1            Where, as here, the business is operating at a loss even before any administrative

  2   professional expenses, the only way for this Debtor to effectively reorganize is with the

  3   cooperation of ownership/management and creditors, which is why the Debtor, through counsel,

  4   has been in discussions with Creditors since day one of the case. If there is a possibility to be

  5   eligible for subchapter V, based on all of the cost-saving economic and administrative

  6   efficiencies attendant to SBRA, a debtor might arguably be acting contrary to its fiduciary duties

  7   to the estate to forgo that subchapter V election and proceed under the more expensive ordinary

  8   chapter 11. Accordingly, the Debtor elected subchapter V, believing itself to be eligible for the

  9   reasons discussed below, and at the very start of the case entered into discussions with creditors

 10   to reach a resolution.

 11            Notably, the best-interest-of-creditors test applies in both ordinary chapter 11 and

 12   subchapter V, and, thus, the Debtor will always have to address the questions that the Creditors

 13   raise about prepetition voidable transfers and other issues to confirm a plan. Subchapter V does

 14   not eliminate a party’s right to be heard under § 1109, examinations under FRBP 2004, contested

 15   plan discovery under FRBP 9014, or a multitude of other creditor rights, and the Debtor fully

 16   expects to have to continue to respond to the Creditors regardless of whether the case remains in

 17   subchapter V or a committee is appointed. The primary difference is that re-designation to

 18   ordinary chapter 11 and/or appointment of a committee will result in more administrative

 19   expenses, and every dollar added for administration is a dollar lost for general unsecured

 20   creditors, lowering the watermark in any chapter 11 plan, subchapter V or not. 11 U.S.C. §§

 21   1129(a)(7) & 1191(a).

 22            The moving Creditors (who already have a significant voice in the ongoing discussions)

 23   are two of the most sophisticated commercial retail landlords in the country, and the Court

 24   should query whether all the general unsecured creditors will really gain from the relief

 25   requested in the Motion, or if the Motion is an institutionally-driven objection in the face of a

 26   growing wave of successful subchapter V cases in the retail industry.3 See, In re G-Star Raw

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      3
          The Creditors (multi-billion-dollar players in their own right) seem upset that the Debtor is
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  1   Retail, Inc., (Bankr.C.D.Cal. 2:20-bk-16040-WB); see also, In re Lorna Jane USA, Inc.

  2   (Bankr.C.D.Cal. 2:21-bk-17267-NB). Perhaps this Motion is not about what is best for all

  3   creditors here in this estate but what is advantageous on an institutional and precedential level for

  4   these particular Creditors in other cases down the road.

  5   B.     Subchapter V Eligibility
  6          Section 1182(1)(A) defines subchapter V eligibility by defining “debtor” according to a

  7   debt limit: “The term ‘debtor’ means … a person engaged in commercial or business activities

  8   … that has aggregate noncontingent liquidated secured and unsecured debts as of the date of the

  9   filing of the petition… in an amount not more than $7,500,000...” 11 U.S.C. § 1182(1)(A).

 10          The Debtor has scheduled some of its landlord debts as contingent and unliquidated for

 11   the valid reasons discussed below.4 The Debtor submits that, in accordance with parallel Ninth

 12   Circuit law on counting debt for eligibility, if any part of the claim is contingent or unliquidated,

 13   then the entire claim is treated as such and excluded from the eligibility calculation. In the

 14   context of counting debt for involuntary cases, the Ninth Circuit has held that “a creditor whose

 15   claim is the subject of a bona fide dispute as to amount lacks standing to serve as a petitioning

 16   creditor under § 303(b)(1) even if a portion of the claim amount is undisputed.” Department of

 17   Revenue v. Blixseth (In re Blixseth), 942 F.3d 1179, 1186 (9th Cir. 2019) (emphasis added).

 18   Both Section 303(b)(1) and Section 1182(1)(A) use the term “amount” in counting debt for

 19   eligibility: “The term ‘debtor’ means … a person engaged in commercial or business activities

 20   … that has aggregate noncontingent liquidated secured and unsecured debts as of the date of the

 21   filing of the petition… in an amount not more than $7,500,000.” 11 U.S.C. § 1182(1)(A)

 22   (emphasis added). By application of the Ninth Circuit’s reasoning in Blixseth to § 1182(1), if

 23   any “amount” of a claim is contingent or unliquidated, then the entire claim is considered

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      private-equity backed. But the courts have found eligibility broadly without any qualifying test
 26   for private equity, as “the purpose and intent of the SBRA [] is to assist small business owners
      in whatever form they take…” In re Ventura, 615 B.R. 1, 24 (Bankr. E.D.N.Y. 2020).
      4
 27     The Debtor did not list the majority of its creditors as contingent/unliquidated/disputed. Thus,
      the landlord Creditors’ comparison to the In re De La Hoz case is misguided.
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  1   contingent or unliquidated and, therefore, not counted in the debt limits for subchapter V

  2   eligibility.

  3           “A debt is contingent when ‘the debtor will be called upon to pay it only upon the

  4   occurrence or happening of an extrinsic event which will trigger the liability of the debtor to the

  5   alleged creditor.’” In re Fountain, 612 B.R. 743, 749 (9th Cir.B.A.P.2020) (quoting In re

  6   Fostvedt, 823 F.2d 305, 306 (9th Cir.1987)).      The Motion acknowledges the argument that the

  7   amount of the landlords’ rejection damage claims are contingent upon the Debtor’s assumption

  8   or rejection of a particular lease and if rejected, the date on which the rejection is effective. See

  9   Motion, ECF 103 at 26:10-11.5 One bankruptcy court has already addressed the issue and

 10   determined that lease rejection claims are contingent and not calculated as part of the subchapter

 11   V debt limit. In re Parking Management, Inc., 620 B.R. 544, 555 (Bankr.D.Md.2020). Section

 12   365 of the Bankruptcy Code, affords the Debtor the ability to assume or reject a lease, making

 13   the liability owed under a particular lease contingent upon whether the Debtor will assume or

 14   reject such lease. 11 U.S.C. §§ 365(a) & 502(g). Thus, a landlord’s claim for a lease that is still

 15   active on the petition date is characteristically contingent as a result of the provisions of the

 16   Bankruptcy Code.

 17           Beyond this contingency, practically all (or at least the majority) of the landlords’ claims

 18   are unliquidated for a host of reasons.       “A debt is liquidated if it is capable of ‘ready

 19   determination and precision in computation of the amount due.’” In re Fountain, 612 B.R. at

 20   749 (quoting In re Sylvester, 19 B.R. 671, 673 (9th Cir.B.A.P.1982)) (emphasis added).

 21   Furthermore, while “[a] dispute about liability does not necessarily render a debt unliquidated,”

 22   … “if the dispute itself makes the claim difficult to ascertain or prevents the ready determination

 23   of the amount due, the debt is unliquidated and excluded from the § 109(e) computation.” In re

 24   Fountain, 612 B.R. at 749 (internal quotations omitted) (discussing debt limits for chapter 13);

 25   see also, In re Parking Management, Inc., 620 B.R. at 554 (looking to § 109 for guidance on

 26
      5
        Citation is to the Court’s ECF ribbon page number at the top of the page, not author-
 27   determination pagination at the bottom of the page. Where available, lines are also cited in the
      format of [page]:[line]-[line] or if spanning multiple pages, [page]:[line]- [page]:[line].
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  1   debt eligibility questions in subchapter V). In the instant case, there are so many variables in a

  2   majority of the landlords’ claims that determining the claims with precision is practically

  3   impossible for the Debtor, particularly as of the Petition Date.

  4          Section 502(b)(6) caps claims “as of the petition date” automatically making the

  5   landlord’s claim contingent as to a certain portion of liability, and also making a certain portion

  6   of the claim unliquidated, particularly when looking at what claim the landlords might add that

  7   are for non-rent damages. Although the Motion argues that lease rejections damages are readily

  8   calculated by looking at the lease agreement, and this may be true for just pure rejection

  9   damages, landlords tend to have claims in addition to their lease rejection claims and such claims

 10   cannot accurately be calculated by the Debtor on the Petition Date. See, In re El Toro Materials

 11   Co., Inc., 504 F.3d 978, 981 (9th Cir. 2007) (adding to landlords’ claims non-rent damages that

 12   are not subject to a cap). Adding to uncertainty are potential disagreements about what counts as

 13   “rent” or not, and, thus what would be subject to a cap or added on. In re Cukierman, 265 F.3d

 14   846, 850-51 (9th Cir.2001) Thus, a landlord may assert other damages related to the leasing of

 15   the property and breach of the lease that the Debtor does not know and that are unliquidated.

 16          Additionally, if the leased premises were turned over prior to the end of the lease, based

 17   on state law, there could be a disagreement between the landlord and Debtor as to whether

 18   possession was actually “surrendered” and whether there is a duty by the landlord to re-let and

 19   mitigate damages. See, In re Lomax, 194 B.R. 862, 865 (9th Cir.B.A.P.1996) (discussing

 20   application of California Civil Code §1951.2 and § 1951.4, as well as 11 U.S.C. § 502(b)(6)).

 21          When an operating business, like the Debtor, is preparing to file chapter 11, it is most

 22   concerned with ongoing operational issues, cash collateral use, making payroll, and ensuring that

 23   its bank accounts are liquid to fund payroll, not tracking the day-to-day changes in various

 24   possible iterations of the multiple landlords’ claims under different contract terms, different state

 25   law, and each landlords’ independent decision to unilaterally drawdown a letters of credit, re-let,

 26   mitigate, or add to the claim with repair damages and attorneys’ fees costs. As a practical matter,

 27   the Debtor cannot know and liquidate all of these various claims.

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  1          For example, in a 158-page proof of claim filed by the Debtor’s former landlord 717

  2   GFC, LLC (Claim No. 24 on the Debtor’s claims register), 717 GFC, LLC devotes a portion of is

  3   asserted claim to repair costs incurred by 717 GFC, LLC as a result of alleged damage by the

  4   Debtor to the leased premises. POC 24. When scheduling 717 GFC, LLC’s claim, the Debtor

  5   had no way of knowing the universe of the claim(s) that 717 GFC, LLC was going to assert

  6   including the repair portion of the claim for out of pocket expenses incurred by 717 GFC, LLC to

  7   repair damage to the leased premises, and, therefore, to a certain extent unknown and

  8   unliquidated. The amount of the claim is still unliquidated because 717 GFC LLC itself hedges

  9   with the safety language of “not less than $5,108,857.92” followed on by a full paragraph of

 10   reservation of rights to “supplement, further amend, and/or modify” the claim. POC 24 at 5.

 11          As another example, the Beverly Wilshire Hotel (“BWH”) filed its 92-page proof of

 12   claim on February 18, 2022. POC 15. According to the proof of claim, the Debtor turned over

 13   possession in November 2020, and the BWH landlord drew on a letter of credit of

 14   $2,457,850.68. POC 15 at 5. But, unbeknownst to the Debtor (especially as of Petition Date), it

 15   appears that BWH covered and mitigated its damages by July 2021, by re-letting the space to

 16   Armani, as the proof of claim shows an expense line charged against the Debtor’s estate for

 17   “$48,750.00 Commission Fees for Armani Lease.” POC 15 at 91. The Debtor had no way of

 18   knowing that BWH would assess against the Debtor charges for the Armani commission and

 19   then numerous Allen Matkins legal invoices, including one for $3,450 for “Armani Lease

 20   Related Legal Fees” and a $32,000 charge for post-surrender demolition and lease build out in

 21   November 2021. POC 15 at 91 and 92. Indeed, unbeknownst to the Debtor as of the Petition

 22   Date, but now apparent from the proof of claim, there is the issue of BWH taking a double or

 23   triple recovery, subjecting it to a claim objection to the benefit of the entire estate, for if the

 24   Debtor returned possession by November 2020, then one year of capped § 502(b)(6) rent

 25   damages would go until approximately November 2021, but the BWH landlord appears to have

 26   had a double or triple recovery by (1) taking the letter of credit deposit, (2) taking cover damages

 27   rent from Armani, and (3) still asserting a claim against the estate from July 2021 going forward.

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  1   The Debtor cannot liquidate the claim of landlords as of the Petition Date without insight into

  2   these type of things.

  3          The BWH and 717 GFC landlord claims are the two largest claims, and the

  4   categorization of these two claims alone as unliquidated shift the Debtor in or out of subchapter

  5   V eligibility. For all of these reasons – and these types of reasons – regarding uncertainty in

  6   liquidating landlords’ claims, as well as the contingency aspect of assumption/rejection landlord

  7   claims, the Debtor qualifies for subchapter V. To the extent a question still remains, a claim

  8   objection proceeding, or at least a claim estimation proceeding under 11 U.S.C. § 502(c) may be

  9   appropriate given the depth of examination required for multiple claims and the importance of

 10   this decision for the estate’s eligibility for subchapter V.

 11                           III.   CAUSE TO EXPAND THE TRUSTEE’S POWERS

 12                             IN LIEU OF APPOINTING A CREDITORS’ COMMITTEE

 13          “[T]he purpose and intent of the SBRA [] is to assist small business owners in whatever

 14   form they take, and to give them speedy access to relief via the bankruptcy process. … [T]he

 15   Congressional intent of the SBRA was to keep small business owners in business, and to

 16   benefit the employees, suppliers, customers and others who rely on that business.” In re

 17   Ventura, 615 B.R. 1, 24 (Bankr.E.D.N.Y. 2020).

 18          While subchapter V permits the appointment of a committee in unusual circumstances

 19   for cause shown, the Court should acknowledge that Congress already placed a fiduciary

 20   within the framework in the subchapter V trustee. Case law on the role of fiduciaries in

 21   subchapter V is instructive, particularly on the role of the trustee in the absence of a

 22   committee. In subchapter V, there is no committee unless cause is shown on noticed motion

 23   and hearing. 11 U.S.C. § 1181(b) (referencing §§ 1102 and 1103). Instead, the subchapter V

 24   trustee acts as a fiduciary for creditors in lieu of a creditors committee. In re Ventura, 615

 25   B.R. 1, 13 (Bankr. E.D.N.Y. 2020). “The subchapter V trustee is an independent third party

 26   and a fiduciary who must be fair and impartial to all parties in the case.” In re 218 Jackson

 27   LLC, 631 B.R. 937, 948 (Bankr.M.D.Fla.2021).

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  1          Congress already expressly permits the subchapter V trustee to take the expansive role

  2   of an examiner to investigate matters on behalf of the estate in a cost-effective manner to

  3   further the purpose of small business reorganization. Bankruptcy Code Section 1183 provides

  4   in pertinent part:

  5                   The trustee shall –
  6
                      (2) perform the duties specified in paragraphs (3), (4), and (7) of
  7                   section 1106 of this title, if the court, for cause and on request of a
                      party in interest, the trustee, or the United States trustee, so
  8                   orders[.]
  9   11 U.S.C. § 1183(b)(2) (emphasis added).6 Section 1106(a)(3) in turn states:
 10
                      (a) A trustee shall –
 11

 12                       (3) except to the extent that the court orders otherwise,
                      investigate the acts, conduct, assets, liabilities, and financial
 13                   condition of the debtor, the operation of the debtor’s business and
                      the desirability of the continuance of such business, and any other
 14                   matter relevant to the case or to the formulation of a plan.
 15   11 U.S.C. § 1106(a)(3) (emphasis added).
 16          “Cause” under section 1183(b)(2) is not defined, and to date, no case law discussing
 17   “cause” under § 1183(b)(2) has been published. However, much of subchapter V is based on
 18   chapter 12. See, Bonapfel, “A Guide to the Small Business Reorganization Act of 2019,” 93
 19   Am. Bankr. L.J. 571, 585 (2019) (noting that subchapter V resembles chapter 12 in some
 20   aspects).    Section 1183(b)(2) is nearly identical to § 1202(b)(2). In re AJEM Hospitality,
 21   LLC, 202 WL 3125276 *1, *1 (Bankr.M.D.N.C. Mar.23, 2020); see, 11 U.S.C. § 1202(b)(2).
 22   While there is little case law evaluating “cause” under § 1202(b)(2), an analysis of the
 23   purpose of the trustee role in subchapter V and chapter 12 is insightful.
 24          “Traditionally, trustees tend to be adversarial to the debtor as a result of their duties in
 25   protecting the estate and creditors. … This role typically puts a trustee in conflict with the
 26
      6
 27    The Debtor is a party in interest authorized to bring this Motion making this request. See, 11
      U.S.C. § 1109(b); see also, 11 U.S.C. § 1181(a) (not excluding § 1109 from subchapter V).
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  1   debtor and sometimes creditors. … A chapter 12 trustee is perhaps the most similar here [to

  2   the subchapter V trustee] – not taking possession of estate property and occupying a similar

  3   oversight role.” In re 218 Jackson LLC, 631 B.R. 937, 947 (Bankr.M.D.Fla.2021). “A

  4   subchapter V trustee plays a different role from other trustees.” Id. It is a “new role” and a

  5   “unique” role in furtherance of Congress’ intent to carry out the SBRA, “which provides a

  6   new avenue for small business debtors to reorganize outside of the more costly traditional

  7   chapter 11 framework.” Id. at 946. “[T]he subchapter V trustee’s role was intentionally

  8   designed to be less adversarial.” Id. at 947. “The subchapter V trustee is an independent third

  9   party and a fiduciary who must be fair and impartial to all parties in the case.” Id. (quoting

 10   The United States Trustee’s Handbook for Small Business Chapter 11 Subchapter V

 11   Trustees). “The subchapter V trustee will act as a fiduciary for creditors, in lieu of an

 12   appointed creditors’ committee. The subchapter V trustee is also charged with facilitating the

 13   subchapter V debtor’s small business reorganization…” In re Penland Heating and Air

 14   Conditioning, Inc., 2020 WL 31245858, *1, *1 (Bankr.E.D.N.C. June 11, 2020) (quoting In re

 15   Ventura, 2020 WL 1867898, *1, *7 (Bankr.E.D.N.Y. Apr.10, 2020)). The Court has power to

 16   limit the scope and extent of the Trustee’s expanded powers for investigation and reports

 17   under § 1183(b)(2). In re AJEM Hospitality, LLC, 202 WL 3125276 *1, *2 (Bankr.M.D.N.C.

 18   Mar.23, 2020) (collecting cases).

 19          Here, in this case, there is “cause” and it is most appropriate for the Trustee’s powers to

 20   be expanded to investigate and file a report to help facilitate an investigation of issues that the

 21   Creditors have raised in their Motion for appointment of a Committee. The Trustee, as the

 22   third party neutral fiduciary, and in lieu of a creditors’ committee, is perfectly situated to

 23   conduct the investigation into the issues that the Creditors raise in the Motion, fulfilling

 24   Congress’ intent in carrying out SBRA, while minimizing the costs of administration.

 25          The Debtor will stipulate the expanded powers under § 1183(b)(2), and the Debtor will

 26   amend its cash collateral budget to add a professional expense line item for Debtor’s counsel

 27   and the subchapter V trustee to engage in this investigation.

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  1          This relief under § 1183(b)(2) will be without prejudice to the Court considering

  2   appointment of a committee at a later date if cause is shown. Moreover, expansion of the

  3   trustee’s powers under § 1183(b)(2) is without prejudice to a determination at a later date as to

  4   the Debtor’s subchapter V eligibility, as even in an ordinary chapter 11, Mr. Jones could be

  5   appointed and serve as an examiner under § 1104(c) to carry out the same tasks.

  6          In the interim, the Debtor would request an extension of its deadline to file its

  7   subchapter V plan under § 1189 while the trustee conducts the investigation and whether a

  8   committee would be appointed to provide input on a potential plan.

  9                                        IV.     CONCLUSION

 10           WHEREFORE, the Debtor respectfully requests that this Court enter an order (i)

 11   denying the Motion, or (ii) alternatively, setting the Motion for a continued hearing with a

 12   discovery and briefing schedule as a contested matter, and, in the interim, expanding the

 13   subchapter V trustee’s powers as an examiner pursuant to 11 U.S.C. § 1183(b)(2); and (iv)

 14   granting such other and further relief as the Court deems appropriate under the circumstances of

 15   this case.

 16   Dated: March 23, 2022                         ESCADA AMERICA LLC
 17
                                            By: ___/s/ John-Patrick M. Fritz_____
 18                                               JOHN-PATRICK M. FRITZ
                                                  LEVENE, NEALE, BENDER,
 19                                               YOO & GOLUBCHIK L.L.P.
                                                  Attorneys for Chapter 11
 20
                                                  Debtor and Debtor in Possession
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  1                                DECLARATION OF KEVIN WALSH

  2
             I, Kevin Walsh, hereby declare as follows:
  3
             1.      I have personal knowledge of the facts set forth below and, if called to testify,
  4
      would and could competently testify thereto.
  5
             2.      I am the Director of Finance for Escada America LLC, a Delaware limited
  6
      liability company. (the “Debtor”), the debtor and debtor in possession in this chapter 11
  7
      bankruptcy case.
  8
             3.      I am an experienced finance professional, having worked for the Debtor since
  9
      2016 and with prior work experience at Fortune 500 companies including Johnson & Johnson
 10
      (Controller/Director) and Pfizer (Finance Director).
 11
             4.      I have reviewed and am familiar with and am knowledgeable about the books and
 12
      records of the Debtor, which books and records are made in the regular practice of business, kept
 13
      in the regular course of business, made by a person with knowledge of the events and
 14
      information related thereto, and made at or near the time of events and information recorded.
 15
             5.      I make this declaration in support of the Debtor’s annexed Opposition.
 16
             6.      The Debtor commenced its bankruptcy case by filing a voluntary petition under
 17
      chapter 11 of the Bankruptcy Code on January 18, 2022, (the “Petition Date”). The Debtor
 18
      continues to manage its financial affairs, operate its business, and administer its bankruptcy
 19
      estate as a debtor in possession.
 20
             7.      The Debtor was formed as a Delaware limited liability company in 2009. The
 21
      Debtor is a national specialty retailer selling high-end, ready-to-wear women’s apparel with its
 22
      main office in Beverly Hills, California, an office New York City, New York, and, as of the
 23
      Petition Date, ten (10) retail stores across seven (7) states in the United States, and over 50
 24
      fulltime employees. As part of its first-day motions, the Debtor rejected five (5) leases, and is
 25
      now operating at five leased locations with approximately 4 employees in its corporate office and
 26
      29 employees in stores.
 27

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  1           8.      The Debtor negotiated workouts with some, but not all, of its various landlords

  2   during 2020 and 2021, but with the consequences of the Covid-19 pandemic that Debtor was

  3   forced to file bankruptcy to restructure its business affairs.

  4           9.      Since 2020 alone, numerous of the Debtor’s foreign affiliates went into and/or are

  5   now in foreign insolvency proceedings in jurisdictions such as Germany, Italy, Luxembourg, and

  6   Slovenia.

  7           10.     The Debtor cannot survive ongoing litigation with these landlords and the

  8   attendant litigation costs and potential liability for breach of those leases.

  9           11.     Accordingly, the Debtor determined in its reasonable business judgment that it

 10   was in the best interest of its estate to file this current bankruptcy case to preserve the going-

 11   concern value of its business and save the jobs of its employees.

 12           12.     The Debtor intends to propose a subchapter V plan in good faith to reorganize its

 13   financial affairs and avoid a senseless and unnecessary liquidation.

 14           13.     To keep the Debtor operating through its reorganization, the Debtor requires the

 15   use of cash collateral.

 16           14.     On March 16, 2022, the Debtor filed its Motion for Order (I) Authorizing Use of

 17   Cash Collateral Pursuant to Section 363 of the Bankruptcy Code; and (II) Providing Adequate

 18   Protection (the “Cash Collateral Motion”) [ECF 101], which is currently set for hearing on April

 19   6, 2022. A budget (the “Budget”) for use of cash collateral through July 15, 2022, is attached as

 20   Exhibit 1 to the Cash Collateral Motion.

 21           15.     Over the course of the 13-week Budget, there is a net loss of approximately

 22   $130,000.

 23           16.     The Budget does not include any prepetition debt service, adequate protection

 24   payments, or even payments to Debtor’s counsel or the subchapter V trustee.

 25           17.     The $130,000-loss over the course of the Budget is a purely operational loss.

 26           18.     For the first 13 weeks of this case, the Debtor’s affiliates, Escada Sourcing and

 27   Production (“ESP”) and Mega Corporate Offices (“MCO”) did not receive any payments for

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  1   inventory consignment fees or for the Debtor’s employee benefits, which permitted the Debtor to

  2   operate cash-flow positive at the outset of the case. However, in the pending Budget, those costs

  3   will be paid on a go-forward basis starting on April 16, 2022.

  4          I declare and verify under penalty of perjury that the foregoing is true and correct to the

  5   best of my knowledge, information and belief.

  6          Executed on this 23rd day of March 2022, at Beverly Hills, California.

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 10                                                        Kevin Walsh, Declarant

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  1                            PROOF OF SERVICE OF DOCUMENT
  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled LIMITED OPPOSITION TO OBJECTION OF
  4   SIMON PROPERTY GROUP AND BROOKFIELD PROPERTIES RETAIL TO DEBTOR’S
      SUBCHAPTER V ELECTION OR, ALTERNATIVELY, MOTION FOR APPOINTMENT OF AN OFFICIAL
  5   COMMITTEE OF UNSECURED CREDITORS [ECF 103]; MEMORANDUM OF POINTS AND
      AUTHORITIES; DECLARATION OF KEVIN WALSH IN SUPPORT will be served or was served (a) on
  6   the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
      below:
  7
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  8   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On March 23, 2022, I checked the CM/ECF docket for this bankruptcy case or
  9   adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
 10
                                                                 Service information continued on attached page
 11
      2. SERVED BY UNITED STATES MAIL: On March 23, 2022, I served the following persons and/or
 12   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
 13   addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
                                                                 Service information continued on attached page
 14
      The Honorable Sheri Bluebond
 15   United States Bankruptcy Court
      Central District of California
 16   Edward R. Roybal Federal Building and Courthouse
      255 E. Temple Street, Suite 1534 / Courtroom 1539
 17   Los Angeles, CA 90012

 18
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
 19   (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      March 23, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 20   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
 21   mail to, the judge will be completed no later than 24 hours after the document is filed.

 22                                                              Service information continued on attached page

 23   I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
      and correct.
 24
       March 23, 2022              Jason Klassi                          /s/ Jason Klassi
 25    Date                            Type Name                         Signature

 26

 27

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  1   2:22-bk-10266-BB Notice will be electronically mailed to:

  2   Dustin P Branch on behalf of Creditor The Macerich Company
      branchd@ballardspahr.com, carolod@ballardspahr.com;hubenb@ballardspahr.com
  3
      John C Cannizzaro on behalf of Creditor 717 GFC LLC
  4   john.cannizzaro@icemiller.com, julia.yankula@icemiller.com

  5   Michael J Darlow on behalf of Creditor Harris County Municipal Utility District #358
      mdarlow@pbfcm.com, tpope@pbfcm.com
  6
      Caroline Djang on behalf of Interested Party Caroline R. Djang
  7   caroline.djang@bbklaw.com, laurie.verstegen@bbklaw.com;wilma.escalante@bbklaw.com

  8   Eryk R Escobar on behalf of U.S. Trustee United States Trustee (LA)
      eryk.r.escobar@usdoj.gov
  9
      John-Patrick M Fritz on behalf of Debtor Escada America, LLC
 10   jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com

 11   William W Huckins on behalf of Creditor Brookfield Properties Retail, Inc.
      whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
 12
      William W Huckins on behalf of Creditor SIMON PROPERTY GROUP INC
 13   whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com

 14   Gregory Kent Jones (TR)
      gjones@sycr.com, smjohnson@sycr.com;C191@ecfcbis.com;cpesis@stradlinglaw.com
 15
      Michael S Kogan on behalf of Creditor Michael Kogan Law Firm, APC
 16   mkogan@koganlawfirm.com

 17   Kristen N Pate on behalf of Creditor Brookfield Properties Retail, Inc.
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 18
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 19   lls@lnbyg.com, lls@ecf.inforuptcy.com

 20   Ronald M Tucker, Esq on behalf of Creditor SIMON PROPERTY GROUP INC
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 21
      United States Trustee (LA)
 22   ustpregion16.la.ecf@usdoj.gov

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